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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION


  UNITED STATES OF AMERICA )
                           )
            Plaintiff,     )
                           )
            vs.            )                                   NO. 4:01-CR-22-03-SEB-MGN
                           )
  TERRY LEE MOZEE          )
                           )
            Defendant      )



                   ORDER APPROVING AND ADOPTING MAGISTRATE
                     JUDGE’S REPORT AND RECOMMENDATION

         The Court, having considered the Magistrate Judge’s Report and Recommendation dated

  May 19, 2011, hereby approves and adopts it as an order of this Court.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the defendant’s

  supervised release is REVOKED. The defendant is ordered released from custody immediately.

  Upon designation, the defendant is to reside for a period of twelve (12) months at a residential

  reentry center and shall observe the rules of that facility. Upon successful completion of the

  twelve-month term, his term of supervised release shall be terminated. The Court recommends

  that the defendant be designated to Dismas House in Louisville, Kentucky.



          05/20/2011
  Date: ________________
                                                               _______________________________
                                                       ___________________________________
                                                                SARAH EVANS BARKER, JUDGE
                                                       SARAH EVANS
                                                                United StatesBARKER,
                                                                              District Court JUDGE
                                                                Southern District of Indiana
                                                       United States District Court
                                                       Southern District of Indiana
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